        Case 1:22-cr-00015-APM            Document 521     Filed 04/13/23       Page 1 of 9



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                     *


vs.                                               *   Case No.: 22-15 APM


THOMAS E. CALDWELL                                *
(U.S. v. Elmer Stewart Rhodes)
        *      *       *       *      *       *       *      *      *       *       *


 NOTICE OF NEW AUTHORITY AND SUPPLEMENTAL ARGUMENT AS TO
CALDWELL’S MOTIONS FOR JUDGMENT OF ACQUITTAL AND NEW TRIAL
        COMES NOW the defendant, Thomas E. Caldwell (“Caldwell”), by and through

undersigned counsel, David W. Fischer, Esq., and hereby notifies the Court of new authority

handed down by the United States Court of Appeals for the D.C. Circuit that potentially impacts

the instant case, and accordingly supplements his prior filings in support of his Motion for

Judgment of Acquittal and Motion for New Trial pursuant to Rules 29 and 33 of the Federal

Rules of Criminal Procedure.

      A. Background

        On November 29, 2022 the jury rendered its verdict in the instant matter, acquitting

Caldwell of Count 1 (Seditious Conspiracy), Count 2 (Conspiracy to Obstruct an Official

Proceeding), and Count 4 (Conspiracy to Prevent Officers from Performing Duties), but

convicting him on Count 3 (Obstruction of an Official Proceeding) and Count 13 (Evidence

Tampering Obstruction). ECF No. 411. Caldwell subsequently filed motions pursuant to Rule

29 and Rule 33, which have not yet been ruled upon by the Court. ECF Nos. 420, 432 & 434.




                                                  1
       Case 1:22-cr-00015-APM          Document 521        Filed 04/13/23      Page 2 of 9




       On April 7, 2023, the D.C. Circuit issued a long-awaited opinion in United States v.

Fischer, No. 22-3038, 2023 U.S. App. LEXIS 8284 (D.C. Cir. Apr. 7, 2023). As argued infra,

the Fischer opinion strengthens Caldwell’s arguments in support of his Rule 29 and Rule 33

motions. Accordingly, Caldwell sets forth additional arguments specifically tailored to this new

authority.

    B. United States v. Fischer

       Fischer resolved the government’s appeal of the trial court’s dismissal of § 1512(c)(2)

charges lodged in three January 6 cases. Id. at *2. The Fischer Court held that “individuals who

allegedly assaulted law enforcement officers while participating in the Capitol riot can be

charged with corruptly obstructing, influencing, or impeding an official proceeding, in violation

of 18 U.S.C. § 1512(c)(2).” Id. The decision in Fischer was, to put it mildly, “splintered.” Id. at

*68, n. 10 (Walker, J., concurring in part). Judge Pan and Judge Walker, who formed the

majority, agreed that January 6 rioters who feloniously assaulted police officers, as was alleged

in the Fischer indictments, could be prosecuted under §1512(c)(2)’s residual clause. Id. at *2,

*67. In his concurring opinion, however, Judge Walker made clear that he did not join Section

I.C.1 of Judge Pan’s majority opinion pertaining to the term “corruptly.” Id. at *46.1

       Judge Walker voted to reverse the lower court’s dismissal of the indictments, but stressed

that he did so on one condition: That the term “corruptly” be read to include a requirement that

the object of the alleged obstruction be an “unlawful benefit” to the defendant or someone else.




1
 Judge Walker, along with dissenting Judge Katsas, argued that the government’s interpretation
of § 1512(c)(2)’s residual clause was “breathtaking and untenable [in] scope.” Id. at *65
(Walker, J., concurring in part), *114 (Katsas, J., dissenting).
                                                 2
         Case 1:22-cr-00015-APM          Document 521        Filed 04/13/23       Page 3 of 9




Id. at *46, n. 1 (“[M]y vote to uphold the indictments depends on it.”).2 Notably, Judge Walker

advised: “If I did not read ‘corruptly’ narrowly, I would join the dissenting opinion.” Id. at *68.

Additionally, citing the Supreme Court’s Marks rule on fractured opinions, Judge Walker

suggested that his viewpoint on “corruptly” should carry the day. Id. at *68 n. 10 (Walker, J.

concurring in part).3 While Judge Pan disputed that the Marks rule would apply in Fischer, id. at

*24, n. 5, as Judge Walker’s concurrence was the sine qua non of the result in Fischer, it appears

that the D.C. Circuit has set forth a definition of corruptly that contains a new element, i.e., that

the defendant must knowingly seek an unlawful benefit for himself or another person. Id. at *48,

n.1, *46-47.

      C. The Fischer decision strengthens Caldwell’s Rule 29 motion.

         While Caldwell maintains that his Rule 29 Motion for Judgment of Acquittal should be

granted based upon his arguments previously presented to the Court, the Fischer decision

nonetheless strengthens his position. Pursuant to Fischer, the government’s burden in

§1512(c)(2) prosecutions arguably includes proving beyond a reasonable doubt the “new




2
    Judge Walker repeatedly emphasized his conditional joinder of the majority opinion:
• “Because I read ‘corruptly’ as courts have read it for hundreds of years—and only because I
read it that way—I concur in the Court’s judgment.” 2023 U.S. App. LEXIS 8284 at *68;
• “[M]y reading of ‘corruptly’ is necessary to my vote to join the lead opinion’s proposed
holding on ‘obstructs, influences, or impedes’ an ‘official proceeding.’” Id.; and
• “[I]n my view, the rationale in the lead opinion is not enough to uphold the indictments.” Id.

3
 Judge Walker cited the Third Circuit’s holding in Binderup for the proposition that his ruling
“may also be controlling” on the D.C. Circuit under Marks. Id. at *68, n. 10 (citing Binderup v.
Attorney General, 836 F.3d 336, 356 (3d Cir. 2016) (en banc)).


                                                  3
       Case 1:22-cr-00015-APM          Document 521       Filed 04/13/23      Page 4 of 9




element”4 that the defendant’s objective was to knowingly obtain an unlawful benefit for himself

or another person. Id. at *47-48 (Walker, J., concurring). Respectfully, the government did not

meet its burden as to this new element of “corruptly.”

       First, the government has never suggested that Caldwell obstructed Congress for the

purpose of benefitting himself. Second, the government failed to adduce sufficient proof that

Caldwell’s “objective” in engaging in allegedly obstructive conduct was to secure an “unlawful

benefit” for another. The jury acquitted Caldwell of three separate conspiracy counts, soundly

rejecting the government’s suggestion that Caldwell was involved in pre-planning forcible or

obstructive conduct aimed at the certification process. As the “Caldwell coordinated the QRF”

theory, which was the cornerstone of the government’s case against Caldwell, was rejected by

the jury, the Court must now focus on Caldwell’s actual, documented conduct on January 6 in

analyzing Caldwell’s Rule 29 motion. The evidentiary record reveals a dearth of evidence that

Caldwell sought an “unlawful benefit” for anyone.

       By stipulation, members of Congress were ordered to be evacuated from the Capitol

Building at 2:20 p.m., and at 2:29 p.m. the House of Representatives recessed under Rule 12(b),

an emergency provision of the House Rules. (Tr. 4442-43). A government exhibit showed

Caldwell taking a selfie of himself at 2:19 p.m. while standing on non-restricted grounds by the

Peace Fountain. (Govt. Exh. 1500; Govt. Exh. 7026; Tr., 4028-29). The government failed to

adduce proof that Caldwell entered Capitol grounds before Congress recessed at 2:29 p.m.

Caldwell and his wife spent a few minutes on a temporary Inaugural balcony, where he uttered

“U.S.A.” four times, privately commented to his wife about Speaker Pelosi’s doorknob, and then


4
 Id. at *22-23 (Judge Pan expressed concerns that “[a]dding a new element to be proved in other
prosecutions involving ‘corrupt’ intent would be a significant change[.]”).
                                                4
       Case 1:22-cr-00015-APM           Document 521        Filed 04/13/23      Page 5 of 9




encouraged his wife “to let’s go, let’s go” off of the stage. Per Special Agent Michael Palian’s

testimony, Caldwell was not on Capitol grounds as of 3:05 p.m. (Tr., 1649). While on Capitol

grounds, Caldwell did not assault, hector, or otherwise engage with police officers, or encourage

others to do so. In fact, he did exactly what multiple police officers wished other January 6

protestors had done: He voluntarily left the Capitol grounds.

       Caldwell’s conduct does not establish sufficient proof that his “objective” was to secure

an “unlawful benefit” for President Trump or anyone else. Exactly what “benefit” would

President Trump receive by Caldwell walking outside of the Capitol when Members of Congress

were not even on Capitol Hill and the certification had already been stopped? To the extent that

President Trump received a “benefit” from the certification vote being stopped and delayed, such

benefit had already accrued before Caldwell entered Capitol grounds, and the government

adduced no evidence that Caldwell’s conduct added one second to the delay.5

       The government, moreover, was required to prove that any “benefit” that Caldwell sought

to procure was “unlawful.” A benefit can be “unlawful” in two ways: “[E]ither because the

benefit itself is not allowed by law, or because it was obtained by unlawful means.” Id. at *58



5
  By contrast, defendants who engaged in conduct akin to Appellant Mr. Fischer, who arrived
after Congress’s evacuation and recess, could conceivably violate § 1512. According to the
“government’s allegations” set forth in briefs, Fischer “stormed the Capitol on January 6,”
“entered the Capitol building . . . just outside the Capitol Rotunda at 3:25 p.m.,” where “he
rushed a line of police officers while yelling “Charge” and “Motherfuckers,’” and “crashed into
the police line, causing multiple people, including at least one officer, to fall to the ground.” See
Govt. Brief, U.S. v. Fischer, #22-3038 at 9-10. Mr. Fischer’s conduct was substantially different
than Caldwell’s because 1) he was inside the Capitol which, according to trial testimony,
arguably could have delayed the resumption of the certification process; 2) he allegedly assaulted
Capitol Police officers who, presumably, were acting to clear the inside of the Capitol to
expedite the certification’s resumption; and 3) he allegedly was committing felonious assault on
police officers.


                                                 5
       Case 1:22-cr-00015-APM           Document 521        Filed 04/13/23      Page 6 of 9




(Walker, J., concurring in part). As to the latter category, Caldwell clearly did not obstruct

Congress by “unlawful means,” as the only independent crime he arguably committed on

January 6 was misdemeanor trespassing, which cannot, as a matter of law, be the “corrupt” act.6

As to the former category, it would not have been “unlawful” for Congress to delay the

certification vote, to reject slates of electors from certain states, or even declare Donald Trump

the winner of the 2020 election. Even assuming, arguendo, that one or more of these “benefits”

was “unlawful,” the government provided no solid evidence that Caldwell’s objective was to

procure any of these benefits through his actions. Caldwell’s actions, in fact, were consistent

with any number of non-corrupt intentions.7 Finally, “[a] defendant must intend to obtain a

benefit that he knows is unlawful[.]” Id. at *60 (Walker, J., concurring in part). The government

presented no evidence that Caldwell knew his actions could result in an illegal benefit.8

    D. Caldwell should receive a new trial if the Court denies his Rule 29 Motion.


6
  Respectfully, a finding that a misdemeanor violation can be the “corrupt” independent act of
obstruction would effectively turn misdemeanor conduct into felonious conduct. Notably, in
Fischer, although the defendants in that appeal were charged with the misdemeanors of
Disorderly Conduct in a Capitol Building (18 U.S.C. § 5104(e)2)(D)) and Disorderly and
Disruptive Conduct in a Restricted Building (18 U.S.C. §1752(a)(2) & (b)(1)(A)), the Court
styled the “question” in that case as “whether individuals who allegedly assaulted law
enforcement officers while participating in the Capitol riot can be charged” under §1512(c)(2).
Id. at *2, *4. Implicit in the Fischer decision is that misdemeanor conduct, in contradistinction
to feloniously assaulting police, likely does not suffice to establish the independent “unlawful
means” necessary for a corrupt mens rea.
        Additionally, the government did not provide legally sufficient evidence that Caldwell
was trespassing on Capitol grounds, as the undisputed video evidence proved that the barriers,
some of which displayed “No trespassing” signs, that would have blocked Caldwell’s path on to
Capitol grounds were vanquished at least 15 minutes before Caldwell arrived at the Peace
Fountain.
7
 As examples, Caldwell could have approached the Capitol to 1) vent at Congress; 2) show
support for President Trump; or 3) just to follow the large crowd that was in front of him.
8
 By contrast, someone who threatens to steal the ballot box or directly threatens a member of
Congress if they vote in a particular way would have knowledge that their conduct could result in
an “unlawful benefit.”
                                                 6
       Case 1:22-cr-00015-APM           Document 521        Filed 04/13/23      Page 7 of 9




       As Fischer arguably sets forth a new definition of “corruptly,” the jury instructions

utilized in the instant case allowed the jury to convict Caldwell without considering an essential

element of the crimes charged in Counts 3 and 13. As to the definition of “corruptly,” the jury

was charged:

             To act “corruptly,” the defendant must use unlawful means or have an
       improper purpose, or both. The defendant must also act with “consciousness of
       wrongdoing.” “Consciousness of wrongdoing” means with an understanding or
       awareness that what the person is doing is wrong.

                Not all attempts to obstruct or impede an official proceeding involve
       acting corruptly. For example, a witness in a court proceeding may refuse to
       testify by invoking his constitutional privilege against self-incrimination, thereby
       obstructing or impeding the proceeding, but he does not act corruptly. In contrast,
       an individual who obstructs or impedes a court proceeding by engaging in
       conduct such as offering illegal bribes, engaging in violence, committing fraud, or
       through other independently unlawful conduct, is acting corruptly.
ECF No. 400 at 27 (emphasis added). Under this instruction, the jury could—and probably

did—convict Caldwell based upon an alleged “improper purpose” or misdemeanor conduct

(“other independently unlawful conduct”) and did not consider the issue of whether Caldwell

acted with a specific intent to obtain an unlawful benefit. While Caldwell and his co-defendants

did not object to the Court’s instruction on “corruptly,” no judge in the United States District

Court for the District of Columbia, to Caldwell’s knowledge, has given an instruction consistent

with Judge Walker’s concurring opinion in Fischer.9 In the “interest of justice,” Caldwell’s Rule

33 motion should, respectfully, be granted if his Rule 29 motion is denied.




9
  The Court rejected defense arguments that the term “corruptly” was vague both facially and as
applied to Caldwell and his original co-defendants. U.S. v. Caldwell, 1:21-cr-00028 (APM)
(ECF No. 558 at 21-25). While the Court did not set forth a binding definition of “corruptly,”
implicit in the Court’s Memorandum Opinion is that a definition of “corruptly” far less stringent
than Judge Walker’s definition was appropriate. Id. at 23-24 (listing “various formulations of the
term [corruptly]” by courts, which did not include Judge Walker’s interpretation).
                                                 7
      Case 1:22-cr-00015-APM        Document 521       Filed 04/13/23       Page 8 of 9




                                     Conclusion

       WHEREFORE, the defendant, Thomas E. Caldwell, respectfully requests that this

Honorable Court grant his Motion for Judgment of Acquittal or, in the alternative, his Motion

for New Trial.




                                                  Respectfully Submitted,
                                                        /s/___________________
                                                  David W. Fischer, Esq.
                                                  Federal Bar No. 023787
                                                  Law Offices of Fischer & Putzi, P.A.
                                                  7310 Ritchie Highway
                                                  Glen Burnie, MD 21061
                                                  (410) 787-0826
                                                  Attorney for Defendant




                                             8
      Case 1:22-cr-00015-APM         Document 521       Filed 04/13/23     Page 9 of 9




                               CERTFICATE OF SERVICE
       I HEREBY CERTIFY that on this 13th day of April, 2023, a copy of the foregoing
Notice of New Authority and Supplemental Argument as to Caldwell’s Motion for Judgment of
Acquittal and New Trial was electronically filed with the Clerk of the United States District
Court using CM/ECF, with a notice of said filing to the following:
      Counsel for the Government:          Office of the United States Attorney
                                           Kathryn Rakoczy, AUSA
                                           Jeffrey Nestler, AUSA
                                           Troy Edwards, AUSA
                                           Louis Manzo, AUSA
                                           Alexandra Hughes, AUSA
                                           555 4th Street, NW
                                           Washington, DC 20001

                                                        /s/___________________
                                                   David W. Fischer, Esq.




                                              9
